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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 LEEZA RODRIGUEZ, et al.,                                     :
                                              Plaintiffs, :
                                                              :   22 Civ. 5749 (LGS)
                            -against-                         :
                                                              :        ORDER
 673 J.R.V. CORP., et al.,                                    :
                                              Defendants. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the initial pretrial conference in this matter is scheduled for August 31, 2022.

        WHEREAS, Defendants 673 J.R.V. Corp. and John LaCourte have appeared in this action

(Dkt. Nos. 11, 13).

        WHEREAS, Defendant Lucilene Martins has not appeared in this action, and proof of

service has not been filed on the docket.

        WHEREAS, Defendants were directed to file answers or otherwise respond to the

Complaint by September 9, 2022.

        WHEREAS, on August 24, 2022, Plaintiffs and Defendants 673 J.R.V. Corp. and

LaCourte filed a proposed case management plan and joint letter (Dkt. No. 16), but it does not

appear that Defendant Martins joined in that submission. It is hereby

        ORDERED that if the parties have been in communication with Defendant Martins, then

they shall re-file the joint status letter and proposed case management plan by August 25, 2022,

at 12:00 p.m. If the parties have not been in communication with Defendant Martins, Plaintiffs

shall file a letter by August 25, 2022, at 12:00 p.m., describing their efforts to serve Defendant

Martins.

Dated: August 24, 2022
       New York, New York
